                         Case 17-10111       Doc 26-2      Filed 02/09/17       Page 1 of 1

                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF MARYLAND
                                            at Greenbelt
                                 In re: Case No.: 17−10111 WIL          Chapter: 7

      Natieya Davis
      Debtor(s)


                                           NOTICE OF FEE DUE


On 1/4/17, the above−referenced bankruptcy case was filed with the U.S. Bankruptcy Court for the District of
Maryland. The case was dismissed on 2/9/17. The original filing fee for this case was $335.00. As of the date of
dismissal, there is an outstanding balance of $274.00 which is due and must be remitted to the court.

Pursuant to bankruptcy law, case dismissal does not change your obligation to pay the court filing fee in full.
Payment of the outstanding court filing fee also does not automatically reinstate the case. Payment is due promptly
upon receipt of this notice.

Payment may be paid in cash, by money order or certified check payable to Clerk, U.S. Bankruptcy Court. Submit the
payment by mail with a copy of this notice enclosed or in person at one of the following locations:

            U.S. Bankruptcy Court                                       U.S. Bankruptcy Court
            Garmatz Federal Courthouse                                  U.S. Courthouse
            101 W. Lombard Street, Suite 8530                           6500 Cherrywood Lane, Suite 300
            Baltimore, MD 21201                                         Greenbelt, MD 20770
For attorneys/trustees: Login to CM/ECF. If you see the fee due on the first screen or under Utilities, Internet
Payment, select it and proceed with payment. If the fee is not shown on those screens, click Bankruptcy/Adversary,
Miscellaneous, and then the appropriate "Filing Fee" event. Select the document for which the fee was originally due.
Accept the displayed fee amount, or enter the amount you are paying. Proceed with payment.




Dated: 2/9/17

                                                           Mark A. Neal, Clerk of Court
                                                           by Deputy Clerk, Jennifer Whitfield 301−344−3326


cc:     Attorney for Debtor(s) − PRO SE



Form ntcffdue − 02/01/2014
